               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION

                           CRIMINAL CASE NO. 3:07cr211-2


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                                ORDER
                          )
                          )
VICTORIA L. SPROUSE.      )
                          )



       THIS MATTER is before the Court on the following motions

submitted by Lisa Costner, the Defendant’s court-appointed counsel1:

1.     The Motion for Interim Payment of Expert Fees [Doc. 272];

2.     The Motion for Additional Funds for an Investigator [Doc. 273];

3.     The Motion for Additional Funds for an Expert in Real Estate Law

       [Doc. 274]; and

4.     The Motion for Witness Fees [Doc. 275].




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           Ms. Costner was relieved of representation after trial.

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     Case 3:07-cr-00211-MR-DCK           Document 294       Filed 10/22/09   Page 1 of 7
The private investigator.

       On March 9, 2009, the Court approved Kenneth Whapham of KW

Investigtions, L.L.C. as a private investigator. [Doc. 195, at 9]. Specifically,

the Court made the following ruling:

       Upon submission by Kenneth Whapham and/or Lisa Costner of
       the appropriate documents as required by the Civil Justice
       Reform Act and local Guidelines, the Court will approve the
       sum of $1,600.00 representing 29 hours of reasonable services
       at an hourly rate of $55.00.

       [T]he Court certifies an additional 61 hours of reasonable
       services at an hourly rate of $55.00 is necessary to provide fair
       compensation for services of an unusual character or duration.
       Upon submission by Kenneth Whapham and/or Lisa Costner of
       the appropriate documents as required by the Civil Justice
       Reform Act and local Guidelines, the Court will submit the
       same for approval by the Chief Judge of the United States
       Fourth Circuit Court of Appeals.

[Id., at 14].

The appropriate documents have not been submitted by either Whapham

or Costner. This motion for an interim payment is actually unnecessary

since payment was previously approved if counsel supplied the appropriate

documentation.

       Counsel has also moved for additional funds to support another 58

hours of services provided by a private investigator. Counsel seeks funds

for William Shafer, an employee of Mr. Whapham who was not approved

                                       2


    Case 3:07-cr-00211-MR-DCK    Document 294     Filed 10/22/09   Page 2 of 7
as a private investigator. No reasons is provided for using Mr. Shafer.

Counsel also states that she used Mr. Whapham in the role of a paralegal

“for the coordination of witnesses.” [Doc. 273, at 2]. No explanation is

provided as to why a member of counsel’s staff could not have provided

those services. Absent detailed explanation, the Court will not approve the

additional funds for 58 hours of services.

      In order to clarify any possible misunderstanding, the Court will

approve the request for an interim payment of expert fees which have been

previously approved; that is, a total of 90 hours. Counsel should submit

vouchers pursuant to form CJA-21.



The real estate expert.

      On March 9, 2009, the Court approved the appointment of Ronald

Short as an expert in real estate law and the sum of $1,600.00 for 7.1

hours of services at the hourly rate of $225.00. [Doc. 195, at 12]. The

Court also certified as necessary an additional 33.9 hours of services at

the hourly rate of $225.00. [Id.]. As is the case with the private

investigator, the appropriate documentation has not been submitted.

      In the first motion, counsel requested the approval of time in excess


                                      3


   Case 3:07-cr-00211-MR-DCK     Document 294   Filed 10/22/09   Page 3 of 7
of 41 hours. The Court declined to approve additional time absent a

statement of the amount which would be necessary. Counsel now

discloses that Mr. Short expended an additional 25.7 hours, although Mr.

Short’s statement of time expended shows that he actually spent an

additional 24.9 hours on the case. The Court certifies that the additional

24.9 hours of services were necessary to provide fair compensation for

services of an unusual character and duration. Upon submission of the

proper forms, the Court will submit the amount of these services for

approval by the Chief Judge of the Circuit.



Witness fees.

     Counsel seeks reimbursement for mileage and a meal for one

witness and air fare for a second witness. The record does not reflect that

counsel obtained subpoenas for the these witnesses. If such a subpoena

had been obtained, the United States Marshal would have provided air fare

for the second witness. Counsel is advised to consult with the Federal

Defenders’ of Western North Carolina on these issues.




                                      4


   Case 3:07-cr-00211-MR-DCK    Document 294    Filed 10/22/09   Page 4 of 7
                                   ORDER

       IT IS, THEREFORE, ORDERED as follows:

1.     The Motion for Interim Payment of Expert Fees [Doc. 272] is granted

       as follows:

       (a)   Upon submission by Kenneth Whapham and/or Lisa Costner of

             the appropriate documents as required by the Civil Justice

             Reform Act and local Guidelines, the Court will approve the

             sum of $1,600.00 representing 29 hours of reasonable services

             at an hourly rate of $55.00.

       (b)   The Court certifies an additional 61 hours of reasonable

             services at an hourly rate of $55.00 was necessary to provide

             fair compensation for services of an unusual character or

             duration. Upon submission by Kenneth Whapham and/or Lisa

             Costner of the appropriate documents as required by the Civil

             Justice Reform Act and local Guidelines, the Court will submit

             the same for approval by the Chief Judge of the United States

             Fourth Circuit Court of Appeals.

       (c)   Upon submission by Ronald J. Short and/or Lisa Costner of the

             appropriate documents as required by the Civil Justice Reform


                                       5


     Case 3:07-cr-00211-MR-DCK   Document 294   Filed 10/22/09   Page 5 of 7
             Act and local Guidelines, the Court will approve the sum of

             $1,600.00 representing 7.1 hours of reasonable services at an

             hourly rate of $225.00.

       (d)   The Court certifies an additional 33.9 hours of reasonable

             services at an hourly rate of $225.00 was necessary to provide

             fair compensation for services of an unusual character or

             duration. Upon submission by Ronald J. Short and/or Lisa

             Costner of the appropriate documents as required by the Civil

             Justice Reform Act and local Guidelines, the Court will submit

             the same for approval by the Chief Judge of the United States

             Fourth Circuit Court of Appeals.

2.     The Motion for Additional Funds for an Investigator [Doc. 273] is

       DENIED without prejudice;

3.     The Motion for Additional Funds for an Expert in Real Estate Law

       [Doc. 274] is GRANTED. The Court certifies an additional 24.9 hours

       of reasonable services at an hourly rate of $225.00 was necessary to

       provide fair compensation for services of an unusual character or

       duration. Upon submission by Ronald J. Short and/or Lisa Costner

       of the appropriate documents as required by the Civil Justice Reform


                                       6


     Case 3:07-cr-00211-MR-DCK   Document 294   Filed 10/22/09   Page 6 of 7
       Act and local Guidelines, the Court will submit the same for approval

       by the Chief Judge of the United States Fourth Circuit Court of

       Appeals.

4.     The Motion for Witness Fees [Doc. 275] is DENIED without

       prejudice.

                                      Signed: October 21, 2009




                                      7


     Case 3:07-cr-00211-MR-DCK   Document 294    Filed 10/22/09   Page 7 of 7
